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                                   4                          IN THE UNITED STATES DISTRICT COURT

                                   5                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                   7    PEACE AND FREEDOM PARTY, et al.,               Case No. 24-cv-08308-MMC
                                                       Plaintiffs,
                                   8
                                                                                       ORDER CONTINUING CASE
                                                 v.                                    MANAGEMENT CONFERENCE
                                   9

                                  10    SHIRLEY N. WEBER,
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           In light of defendant's pending motion to dismiss, filed January 31, 2025, and

                                  14   noticed for hearing March 28, 2025, the Case Management Conference currently

                                  15   scheduled for February 21, 2025, is hereby CONTINUED to June 20, 2025, at 10:30 a.m.

                                  16   A Joint Case Management Conference Statement shall be filed no later than June 13,

                                  17   2025.

                                  18           IT IS SO ORDERED.

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                                  20   Dated: February 3, 2025
                                                                                               MAXINE M. CHESNEY
                                  21                                                           United States District Judge
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